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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                    *
vs.                                              *    Case No.: 22-15-APM
THOMAS E. CALDWELL                               *
         *       *      *     *      *      *         *      *        *       *     *
                     MOTION TO MODIFY CONDITIONS OF RELEASE

         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney,

David W. Fischer, Esq., and respectfully requests that the Court modify the conditions of

release in this matter, and states as follows:

      1. The Government opposes this request.

      2. The Defendant requests permission to travel within 150 miles of his residence in

         Clarke County, Va., excluding the District of Columbia. Currently, the

         Defendant’s travel is restricted to Clarke, Frederick, and Loudoun Counties in

         Virginia and Jefferson and Berkeley Counties in West Virginia. (ECF Nos. 30 &

         859).

      3. The Defendant also requests that the condition of release requiring him to be

         supervised via a GPS-monitoring ankle bracelet be removed. (ECF no. 30).

      4. The Defendant further requests that his internet restrictions be loosened.

         Currently, the Defendant is permitted “to use internet connected devices solely to

         communicate with counsel, to review discovery, or to conduct legal research.”

         (ECF No. 30). Further, the Defendant’s wife is required to “monitor any access
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      to any internet-connected device to ensure compliance with this term of release.”

      Id.

   5. At the time the original conditions of release were imposed on March 12, 2021,

      the Court had limited information--mostly supplied by the Government-- as to the

      background, characteristics, and potential danger that the Defendant posed to the

      community. The Court, accordingly, imposed very restrictive conditions of

      release in lieu of pretrial detention, which the Defendant is forever grateful.

   6. Circumstances have changed since the imposition of the Defendant’s original

      conditions. First, the Defendant was acquitted by a jury of three conspiracy-

      related counts. Second, as a result of the Supreme Court’s recent decision in

      Fischer v. United States, the Defendant’s guilty finding as to Count 3, obstruction

      of an official proceeding pursuant to 18 U.S.C. § 1512(c)(2), is likely untenable,

      and will be the subject of an upcoming motion to be filed by counsel in the near

      future. Third and related, the Defendant’s other finding of guilt as to evidence

      tampering obstruction may also be affected by the Fischer decision, which will be

      argued in the Defendant’s forthcoming motion. Fourth, a recent decision in the

      U.S. Court of Appeals for the D.C. Circuit, United States v Brock, significantly

      reduced (by 11 levels) the Defendant’s potential sentencing guidelines as to Count

      3 even if that count survives a challenge based upon Fischer.

   7. The Defendant has performed perfectly for nearly 40 months on pretrial release.

      On July 10, 2024, undersigned counsel spoke with USPO Seth Flory, who has

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      been supervising the Defendant as a “courtesy supervision” in the Western District

      of Virginia. USPO Flory has no objection to the Defendant being removed from

      GPS monitoring. Mr. Flory confirmed that the Defendant has incurred no

      violations in the 40 months that he has been supervised.

   8. The Defendant is now 70 years-old and, as the Court is aware, in poor physical

      health. He poses absolutely no danger to the public and is not a flight risk.

   9. The Defendant desires access to the internet to shop, buy farm-related

      commodities, communicate by Zoom with friends and family, pay bills, manage

      his numerous medical appointments and V.A. requirements, and generally keep

      himself educated on topics of local and national interest. The Defendant is

      currently under a “no contact” order in relation to co-defendants, many of whom

      are in the Bureau of Prisons, and is not seeking to remove that particular release

      condition.

   10. The Defendant desires to travel to visit friends, acquaintances, his former Navy

      comrades, relatives, etc. He and his wife, both retirees, have not traveled in over

      four years. The Defendant, after obtaining permission from his PTSO or the

      Court, has already traveled to Maryland, Washington, D.C., West Virginia and

      elsewhere without violating his other conditions of release.

   11. Additionally, it should be noted that undersigned counsel has learned from his

      current and former PTSO that the Defendant requires a significant amount of time

      to supervise. He has multiple doctors, very frequent medical appointments at

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       various locations, and other needs that require frequent communication with PTS

       to obtain travel approval. Respectfully, PTS’s time could be better spent actively

       monitoring other defendants that truly pose a potential danger to the public.

   12. The purpose of imposing conditions or release, respectfully, is to protect the public

       and ensure the Defendant’s appearance in court. The Defendant’s conduct over

       40 months has proven that he poses no risk. Additionally, trial testimony proved

       that the Defendant’s conduct on January 6, 2021was significantly less serious than

       the claims that led the Court to impose strict conditions of release.


       WHEREFORE, the Defendant respectfully requests that the conditions of his
release be modified as set forth supra.



                                                             /s/
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                            CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on this 11th day of July, 2024, a copy of the foregoing
Motion to Modify Conditions of Release was electronically filed with the Clerk of the
United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:              Kathryn Rakoczy, AUSA
                                         Office of the United States Attorney
                                         555 4th Street, NW
                                         Washington, DC 20001

                                                           /s/
                                                 David W. Fischer, Esq.




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